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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )         Case No. 4:04CR3039
                    Plaintiff,             )
                                           )
             vs                            )         MEMORANDUM
                                           )          AND ORDER
RICHARD LEE HOOVER,                        )
                                           )
                    Defendant.             )



      Due to the defendant’s medical condition,

       IT IS ORDERED that the defendant’s motions to delay commencement of
sentence (filings 129 & 130) are granted, and the defendant shall surrender for service
of his sentence no earlier than February 16, 2006 but on the date and time and at the
place designated by the Bureau of Prisons. The Clerk of the Court shall provide the
United States Marshals Service with a copy of this order.

      December 22, 2005.                       BY THE COURT:

                                               s/Richard G. Kopf
                                               United States District Judge
